                         UNITED STATES
    Case:15-03594-BKT13 Doc#:28          BANKRUPTCY
                                 Filed:10/01/18      COURT
                                                Entered:10/01/18 14:13:32   Desc: Main
                             DISTRICT   OF PUERTO RICO
                                Document Page 1 of 1

IN RE:                                         CASE NO. 15-03594-BKT
EVELYN ALVARADO NEGRON
                                                   CHAPTER 13

        DEBTOR (S)



                                Trustee's Position
            Regarding AUTHORIZATION TO OBTAIN POST PETITION SBA LOAN


TO THE HONORABLE COURT:

     NOW COMES José R. Carrión, Chapter 13 Trustee, through the undersigned and
very respectfully alleges and prays:

     1. The Trustee has no opposition to:
AUTHORIZATION TO OBTAIN POST PETITION SBA LOAN.(Docket # 27 ).


     WHEREFORE the Trustee respectfully requests this Honorable Court to take
notice of the abovementioned and enter the order it deems appropriate.


     CERTIFICATE OF SERVICE: The Chapter 13 Trustee herewith certified that a
copy of this motion has been served on this same date, to their respective address
of record to: Debtor(s), to their counsel and to all those parties in interest who
have filed a notice of appearance by First Class Mail if not an ECFS register user.

     In San Juan, Puerto Rico this Monday, October 1, 2018.




                                                  /s/ Nannette Godreau -Staff Attorney
                                                  JOSE R. CARRION
                                                  CHAPTER 13 TRUSTEE
                                                  P.O. Box 9023884, Old San Juan Sta.
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